       Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 1 of 30




 1 Lauren A. Dean, Esq. (SBN 174722)
     lauren@magdeanlaw.com
 2 MAGNANIMO DEAN LAW, APC
     5850 Canoga Ave., Suite 400
 3 Woodland Hills, California 91367
     Telephone: (818) 305-3450
 4 Facsimile:   (818) 305-3451
 5 Attorney for Plaintiff:
     Michael Vallieres
 6

 7

 8                         UNITED STATES DISTRICT COURT
 9                       NORTHERN DISTRICT OF CALIFORNIA
10

11   MICHAEL VALLIERES, Derivatively                CASE NO.:
     on Behalf of AFFIRM HOLDINGS,
12   INC.,
13                 Plaintiff,                       VERIFIED SHAREHOLDER
                                                    DERIVATIVE COMPLAINT
14                 v.
15
     MAX LEVCHIN, JEREMY LIEW,
16   LIBOR MICHALEK, JENNY J.
     MING, CHRISTA S. QUARLES,
17   KEITH RABOIS, JACQUELINE D.
     RESES, JAMES D. WHITE AND
18   MICHAEL LINFORD,
19                 Defendants,
20
                   -and-
21

22   AFFIRM HOLDINGS, INC.,

23                Nominal Defendant.
24

25         Plaintiff Michael Vallieres, by and through his undersigned counsel, derivatively
26 on behalf of Nominal Defendant Affirm Holdings, Inc. (“Affirm” or the “Company”),

27 submit this Verified Shareholder Derivative Complaint (the “Complaint”). Plaintiff’s

28 allegations are based upon his personal knowledge as to himself and his own acts, and

                                                   1
                                Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 2 of 30




 1 upon information and belief, developed from the investigation and analysis by Plaintiff’s

 2 counsel, including a review of publicly available information, including filings by

 3 Affirm with the U.S. Securities and Exchange Commission (“SEC”), press releases,

 4 news reports, analyst reports, investor conference transcripts, publicly available filings

 5 in lawsuits, and matters of public record.

 6                              NATURE OF THE ACTION
 7        1.     This is a shareholder derivative action brought in the right, and for the
 8 benefit, of Affirm.

 9        2.     The Company operates a platform for digital and mobile-first commerce in
10 the U.S. and Canada. The Company’s platform includes point-of-sale payment solutions

11 for consumers, merchant commerce solutions, and a consumer-focused app.              The
12 Company offers a payment service known as “buy now, pay-later” (“BNPL”), which

13 allows consumers to purchase a product immediately and pay for it at a later time,

14 usually over a series of installments. According to the Company: “[u]nlike legacy

15 payment options and our competitors’ product offerings, which charge deferred or

16 compounding interest and unexpected costs, we disclose up-front to consumers exactly

17 what they will owe — no hidden fees, no penalties.”

18        3.     The Company also maintains an official Twitter account, through which it
19 publishes statements—or “tweets”—including periodic financial results.

20        4.     Throughout the Relevant Period, Defendants caused the Company to make
21 materially false and misleading statements concerning the Company’s business,

22 operations, and compliance policies. Defendants caused the Company to make false

23 and/or misleading statements and/or failed to disclose that: (i) the Company’s BNPL

24 service facilitated excessive consumer debt, regulatory arbitrage, and data harvesting;

25 (ii) the foregoing subjected the Company to a heightened risk of regulatory scrutiny and

26 enforcement action; (iii) the Company maintained inadequate disclosure controls and

27 procedures and internal control over financial reporting; (iv) accordingly, the

28 Company’s tweet for its second quarter 2022 financial results contained selected metrics

                                                2
                             Verified Shareholder Derivative Complaint
       Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 3 of 30




 1 that made it appear that the Company had performed better than it actually did; and (v)

 2 as a result, the Company’s public statements were materially false and misleading at all

 3 relevant times.

 4         5.    On December 16, 2021, the Consumer Financial Protection Bureau (the
 5 “CFPB”) reported that it had launched an inquiry into the Company’s BNPL payment

 6 service, along with four other companies offering BNPL. The CFPB indicated that it

 7 was concerned about how BNPL leads to “accumulating debt, regulatory arbitrage, and

 8 data harvesting,” and is seeking data on the risks and benefits of the products. In a

 9 statement addressing BNPL services, the CFPB Director stated, “[t]he consumer gets the
10 product immediately but gets the debt immediately too.”

11         6.    On this news, the Company’s stock price fell $11.74 per share, or 10.58%,
12 to close at $99.24 per share on December 16, 2021.

13         7.    Then, at approximately 1:15 p.m. on February 10, 2022, the Company
14 issued a tweet from its official Twitter account, wherein the Company disclosed certain

15 metrics from its second quarter 2022 financial results. The tweet, which was published

16 prior to the Company’s planned release of its financial results, portrayed a highly

17 successful quarter, which included an increase in revenue of 77%. This caused the

18 Company’s share price to spike nearly 10% in intra-day trading. The Company later

19 deleted the tweet and released its full second quarter financial results ahead of schedule,

20 which were lackluster, posting a loss of $0.57 per share, compared with analyst

21 expectations of $0.37 per share.

22         8.    On this news, the Company’s share price plummeted from an intra-day high
23 of $83.57 per share on February 10, 2022, to close at $58.68 per share, or approximately

24 32%.

25                                     JURISDICTION
26         9.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
27 because Plaintiff’s claims raise a federal question under Section 10(b) of the Exchange

28 Act (15 U.S.C. § 78j(b)) and Section 21D of the Exchange Act (15 U.S.C. § 78u-4(f)).

                                                3
                             Verified Shareholder Derivative Complaint
       Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 4 of 30




 1 Plaintiff’s claims also raise a federal question pertaining to the claims made in the

 2 securities class actions entitled Toole v. Affirm Holdings, Inc., et al., Case 3:22-cv-01243

 3 (N.D. Cal.) (the “Securities Class Action”) based on violations of the Exchange Act.

 4         10.   This Court has supplemental jurisdiction over Plaintiff’s state law claims
 5 pursuant to 28 U.S.C. § 1367(a).

 6         11.   This derivative action is not a collusive action to confer jurisdiction on a
 7 court of the United States that it would not otherwise have.

 8         12.   Venue is proper in this District because the alleged misstatements and
 9 wrongs complained of herein entered this District, Defendants have conducted business
10 in this District, and Defendants’ actions have had an effect in this District. In addition,

11 the Company’s principal executive offices are in this District.

12                                      THE PARTIES
13 Plaintiff

14         13.   Plaintiff is, and was at relevant times, a shareholder of Affirm. Plaintiff
15 will fairly and adequately represent the interests of the shareholders in enforcing the

16 rights of the corporation. Plaintiff currently holds Affirm shares as of the filing of this

17 Complaint.

18 Nominal Defendant

19         14.   Nominal Defendant Affirm is a Delaware corporation with principal
20 executive offices located at 650 California Street, San Francisco, California 94108.

21 Defendant Directors

22         15.   Defendant Max Levchin (“Levchin”) has served as the Company’s
23 Chairman of the Board of Directors (the “Board”) and Chief Executive Officer (“CEO”)

24 at all relevant times. Defendant Levchin is also the founder of the Company.

25         16.   Defendant Jeremy Liew (“Liew”) has served as a member of the
26 Company’s Board since 2013. Defendant Liew has been a Partner at Lightspeed

27 Venture Partners, a venture capital firm, since 2006. Defendant Liew is the Chair of the

28 Compensation Committee and a member of the Nominating and Governance

                                                4
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 5 of 30




 1 Committee.

 2        17.   Defendant Libor Michalek (“Michalek”) has served as a member of the
 3 Company’s Board since May 2021. Defendant Michalek has served as the Company’s

 4 President, Technology, Risk and Operations since May 2021 and previously served as

 5 the Company’s President, Technology from 2018 to May 2021. Defendant Michalek

 6 served as the Company’s Chief Technology Officer from 2015 to 2018. Prior to joining

 7 the Company, Defendant Michalek served as an Engineering Director at YouTube and

 8 Google.

 9        18.   Defendant Jenny J. Ming (“Ming”) has served as a member of the
10 Company’s Board since February 2021. Defendant Ming is a member of the Audit

11 Committee and a member of the Nominating and Governance Committee.

12        19.   Defendant Christa S. Quarles (“Quarles”) has served as a member of the
13 Company’s Board since 2018. Defendant Quarles is the Chair of the Audit Committee

14 and a member of the Compensation Committee.

15        20.   Defendant Keith Rabois (“Rabois”) has served as a member of the
16 Company’s Board since 2013.        Defendant Rabois has been a General Partner at
17 Founders Fund since 2019. Prior to joining Founders Fund, Defendant Rabois served as

18 a Managing Director at Khosla Ventures from 2013 to 2019. Defendant Rabois is a

19 member of the Audit Committee.

20        21.    Defendant Jacqueline D. Reses (“Reses”) has served as a member of the
21 Company’s Board since January 2021. Defendant Reses is a member of the Audit

22 Committee and the Compensation Committee.

23        22.    Defendant James D. White (“White”) has served as a member of the
24 Company’s Board since February 2021.

25        23.    Defendants Levchin, Liew, Michalek, Ming, Quarles, Rabois, Reses and
26 White are collectively referred to hereinafter as the “Director Defendants.”

27 Officer Defendant

28        24.   Defendant Michael Linford (“Linford”) has served as the Company’s
                                               5
                            Verified Shareholder Derivative Complaint
       Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 6 of 30




 1 Chief Financial Officer at all relevant times.

 2         25.   The Director Defendants and Defendant Linford are collectively referred to
 3 herein as the “Individual Defendants”.

 4                   CODE OF BUSINESS CONDUCT AND ETHICS
 5         26.   As members of the Board, the Director Defendants were held to the highest
 6 standards of honesty and integrity and charged with overseeing the Company’s business

 7 practices and policies and assuring the integrity of its financial and business records.

 8         27.   The conduct of the Director Defendants complained of herein involves a
 9 knowing and culpable violation of their obligations as directors and officers of the
10 Company, the absence of good faith on their part, and a reckless disregard for their

11 duties to the Company and its investors that the Director Defendants were aware posed a

12 risk of serious injury to the Company.

13                   DUTIES OF THE INDIVIDUAL DEFENDANTS
14         28.   By reason of their positions as officers and/or directors of the Company,
15 and because of their ability to control the business and corporate affairs of the Company,

16 the Individual Defendants owed Affirm and its investors the fiduciary obligations of

17 trust, loyalty, and good faith. The obligations required the Individual Defendants to use

18 their utmost abilities to control and manage the Company in an honest and lawful

19 manner. The Individual Defendants were and are required to act in furtherance of the

20 best interests of the Company and its investors.

21         29.   The Individual Defendants owe to Affirm and its investors the fiduciary
22 duty to exercise loyalty, good faith, and diligence in the administration of the affairs of

23 the Company and in the use and preservation of its property and assets. In addition, as

24 officers and/or directors of a publicly held company, the Individual Defendants had a

25 duty to promptly disseminate accurate and truthful information with regard to the

26 Company’s operations, finances, and financial condition, as well as present and future

27 business prospects, so that the market price of the Company’s stock would be based on

28 truthful and accurate information.

                                                6
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 7 of 30




 1        30.    To discharge their duties, the officers and directors of Affirm were required
 2 to exercise reasonable and prudent supervision over the management, policies, practices,

 3 and controls of the affairs of the Company. By virtue of such duties, the officers and

 4 directors of Affirm were required to, among other things:

 5               (a)   ensure that the Company complied with its legal obligations and
 6        requirements, including acting only within the scope of its legal authority and
 7        disseminating truthful and accurate statements to the SEC and the investing
 8        public;
 9               (b)   conduct the affairs of the Company in an efficient, businesslike
10        manner so as to make it possible to provide the highest quality performance of its
11        business, to avoid wasting the Company’s assets, and to maximize the value of
12        the Company’s stock;
13               (c)   properly and accurately guide investors and analysts as to the true
14        financial condition of the Company at any given time, including making accurate
15        statements about the Company’s business prospects, and ensuring that the
16        Company maintained an adequate system of financial controls such that the
17        Company’s financial reporting would be true and accurate at all times;
18               (d)   remain informed as to how Affirm conducted its operations, and,
19        upon receipt of notice or information of imprudent or unsound conditions or
20        practices, make reasonable inquiries in connection therewith, take steps to correct
21        such conditions or practices, and make such disclosures as necessary to comply
22        with federal and state securities laws;
23               (e)   ensure that the Company was operated in a diligent, honest, and
24        prudent manner in compliance with all applicable federal, state and local laws,
25        and rules and regulations; and
26               (f)   ensure that all decisions were the product of independent business
27        judgment and not the result of outside influences or entrenchment motives.
28

                                                7
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 8 of 30




 1        31.    Each Individual Defendant, by virtue of his position as a director and/or
 2 officer, owed to the Company and to its shareholders the fiduciary duties of loyalty,

 3 good faith, and the exercise of due care and diligence in the management and

 4 administration of the affairs of the Company, as well as in the use and preservation of its

 5 property and assets. The conduct of the Individual Defendants complained of herein

 6 involves a knowing and culpable violation of their obligations as directors and officers

 7 of Affirm, the absence of good faith on their part, and a reckless disregard for their

 8 duties to the Company and its shareholders that the Individual Defendants were aware,

 9 or should have been aware, posed a risk of serious injury to the Company.
10        32.    The Individual Defendants breached their duties of loyalty and good faith
11 by causing the Company to issue false and misleading statements concerning the

12 financial condition of the Company. As a result, Affirm has expended, and will continue

13 to expend, significant sums of money related to investigations and lawsuits.

14               THE COMPANY’S AUDIT COMMITTEE CHARTER
15        33.    Pursuant to the Company’s Audit Committee Charter: “The purpose of the
16 Audit Committee (the ‘Committee’) of the Board of Directors (the ‘Board’) of Affirm

17 Holdings, Inc. (the ‘Corporation’) is to prepare the audit committee report required by

18 the SEC to be included in the Corporation’s annual proxy statement and to assist the

19 Board in overseeing and monitoring: (i) the Corporation’s accounting and financial

20 reporting processes; (ii) the quality and integrity of the Corporation’s financial

21 statements and the auditing of those financial statements; (iii) compliance with legal and

22 regulatory requirements; (iv) the Corporation’s independent registered public accounting

23 firm’s qualifications and independence; (v) the performance of the Corporation’s

24 internal audit function; and (vi) the appointment, compensation, retention, oversight and

25 performance of the Corporation’s independent registered public accounting firm. The

26 Committee shall also perform such further functions as may be consistent with this

27 Charter or assigned by applicable law, the Corporation’s certificate of incorporation or

28 bylaws, or the Board.”

                                                8
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 9 of 30




 1        34.   The following duties and responsibilities are within the authority of the
 2 Audit Committee, and the Audit Committee shall perform such duties consistent with

 3 and subject to applicable law and rules and regulations promulgated by the SEC,

 4 Nasdaq, or any other applicable regulatory authority:

 5        B.    Oversight of Annual Audit and Quarterly Reviews
 6
          The Committee shall have the following duties and responsibilities with
 7        respect to the Corporation’s annual audit and quarterly reviews:
 8
          (a)   Review and discuss with the Independent Auditor its annual audit
 9              plan, including the timing and scope of audit activities, and monitor
10              such plan’s progress and results during the year;

11        (b)   Review with management, the Independent Auditor and the leader
12              of the Corporation’s internal audit function, the following:

13              (i)     all critical accounting policies and practices to be used;
14
                (ii)    any critical audit matters arising from the current period
15                      audit;
16
                (iii)   all alternative treatments of financial information that the
17                      Independent Auditor has discussed with management,
18                      ramifications of the use of such alternative disclosures and
                        treatments, and the treatment preferred by the Independent
19                      Auditor;
20
                (iv)    all other material written communications between the
21                      Independent Auditor and management, such as any
                        management letter and any schedule of unadjusted
22
                        differences; and
23
                (v)     any material financial arrangements of the Corporation which
24                      do not appear on the financial statements of the Corporation;
25                      and
26        (c)   Resolve all disagreements between the Independent Auditor and
                management regarding financial reporting.
27

28        C.    Oversight of the Financial Reporting Process and Internal
                                                9
                             Verified Shareholder Derivative Complaint
     Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 10 of 30




 1             Controls
 2
         The Committee shall have the following duties and responsibilities with
 3       respect to the Corporation’s financial reporting process and internal
 4       controls:

 5       (a)   Review:
 6
               (i)    the adequacy and effectiveness of the Corporation’s
 7                    accounting and internal control policies and procedures on a
 8                    regular basis, including the responsibilities, budget,
                      compensation and staffing of the Corporation’s internal audit
 9                    function, through inquiry and discussions with the
10                    Independent Auditor, management and the leader of the
                      Corporation’s internal audit function; and
11

12             (ii)   if applicable, the yearly report prepared by management, and
                      attested to by the Independent Auditor, assessing the
13                    effectiveness of the Corporation’s internal control over
14                    financial reporting and stating management’s responsibility
                      for establishing and maintaining adequate internal control
15                    over financial reporting prior to its inclusion in the
16                    Corporation’s Annual Report on Form 10-K;
17       (b)   Review periodically with the Chief Executive Officer, Chief
               Financial Officer and the Independent Auditor:
18

19             (i)    all significant deficiencies and material weaknesses in the
                      design or operation of internal control over financial reporting
20
                      which are reasonably likely to adversely affect the
21                    Corporation’s ability to record, process, summarize and report
                      financial information; and
22
               (ii)   any fraud, whether or not material, that involves management
23                    or other employees who have a significant role in the
24
                      Corporation’s internal control over financial reporting;

25       (c)   Discuss guidelines and policies governing the process by which
26
               senior management of the Corporation and the relevant departments
               of the Corporation, including the internal audit function, assess and
27             manage the Corporation’s exposure to risk, as well as the
28
               Corporation’s major litigation and financial risk exposures and the

                                             10
                           Verified Shareholder Derivative Complaint
     Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 11 of 30




 1             steps management has taken to monitor and control such exposures
 2
               it being understood that it is the job of management to assess and
               manage the Corporation’s exposure to risk and that the Committee’s
 3             responsibility is to discuss guidelines and policies by which risk
 4             assessment is undertaken;

 5       (d)   Provide input to management regarding the selection, review and
 6             removal of the leader of the Corporation’s internal audit function;

 7       (e)   Review with management the progress and results of all internal
 8             audit projects, and, when deemed necessary or appropriate by the
               Committee, assign additional internal audit projects to the leader of
 9             the Corporation’s internal audit function;
10
         (f)   Review and discuss with the Independent Auditor the results of the
11             year-end audit of the Corporation, including any comments or
12             recommendations of the Independent Auditor, and, based on such
               review and discussions and on such other considerations as it
13             determines appropriate, recommend to the Board whether the
14             Corporation’s financial statements should be included in the Annual
               Report on Form 10-K; and
15

16       (g)   Review the type and presentation of information to be included in
               the Corporation’s earnings press releases (especially the use of “pro
17             forma” or “adjusted” information not prepared in compliance with
18             generally accepted accounting principles), as well as financial
               information and earnings guidance provided by the Corporation to
19             analysts and rating agencies (which review may be done generally
20             (e.g., discussion of the types of information to be disclosed and type
               of presentations to be made), and the Committee need not discuss in
21             advance each earnings release or each instance in which the
22             Corporation may provide earnings guidance).
23       D.    Miscellaneous
24
         The Committee shall have the following additional duties and
25       responsibilities:
26
         (a)   Meet periodically with the Chief Legal Officer, and outside counsel
27             when appropriate, to review legal and regulatory matters, including
28

                                             11
                           Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 12 of 30




 1               (i)    any matters that may have a material impact on the financial
 2
                        statements of the Corporation and (ii) any matters involving
                        potential or ongoing material violations of law or breaches of
 3                      fiduciary duty by the Corporation or any of its directors,
 4                      officers, employees or agents or breaches of fiduciary duty to
                        the Corporation;
 5

 6        (b)    Review and approve or ratify, as appropriate, any transaction
                 between the Corporation and any related person (as defined in Item
 7               404 of Regulation S-K of the SEC) in accordance with the
 8               Corporation’s Related Person Transactions Policy;

 9        (c)    Prepare the audit committee report required by Item 407(d) of
10               Regulation S-K to be included in the Corporation’s annual proxy
                 statement;
11

12        (d)    Review and approve in advance any services provided by the
                 Independent Auditor to the Corporation’s executive officers or
13               members of their immediate family;
14
          (e)    Review the Corporation’s program to monitor compliance with the
15               Corporation’s Code of Conduct and Ethics (the “Code of Conduct”),
16               and meet periodically with the Corporation’s Chief Legal Officer to
                 discuss compliance with the Code of Conduct […].
17

18                           SUBSTANTIVE ALLEGATIONS
19 Background

20

21        35.    The Company operates a platform for digital and mobile-first commerce in
22 the U.S. and Canada. The Company’s platform includes point-of-sale payment solutions

23 for consumers, merchant commerce solutions, and a consumer-focused app.               The
24 Company offers a BNPL payment service, which allows consumers to purchase a

25 product immediately and pay for it at a later time, usually over a series of installments.

26 According to the Company, “[u]nlike legacy payment options and our competitors’

27 product offerings, which charge deferred or compounding interest and unexpected costs,

28 we disclose up-front to consumers exactly what they will owe — no hidden fees, no

                                               12
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 13 of 30




 1 penalties.”

 2        36.    The Company also maintains an official Twitter account, through which it
 3 publishes statements—or “tweets”—including periodic financial results.

 4                     FALSE AND MISLEADING STATEMENTS
 5        37.    On February 12, 2021, Defendants caused the Company to issue a post-
 6 market press release reporting the Company’s fiscal year 2021 second quarter results.

 7 That press release quoted Defendant Levchin, who stated that the Company’s “mission

 8 has been to build honest financial products that improve lives”; that “[w]e’ve aligned our

 9 success with the success of both sides of the commerce ecosystem, winning when our
10 consumers . . . win”; and that “we remain committed to empowering consumers to take

11 control of their finances[.]”

12        38.    On February 17, 2021, Defendants caused the Company to file a quarterly
13 report on Form 10-Q with the SEC, reporting the Company’s financial and operating

14 results for the quarter ended December 31, 2020 (the “2Q21 Form 10-Q”):

15        Affirm . . . provides consumers with a simpler, more transparent, and
16
          flexible alternative to traditional payment options. Our mission is to
          deliver honest financial products that improve lives . . . . Affirm enables
17        consumers to confidently pay for a purchase over time . . . .
18
          . . . . Consumers get the flexibility to buy now and make simple monthly
19        payments for their purchases and merchants see . . . an overall more
20        satisfied customer base. Unlike legacy payment options and our
          competitors’ product offerings, which charge deferred or compounding
21        interest and unexpected costs, we disclose up-front to consumers exactly
22        what they will owe — no hidden fees, no penalties.

23        39.    The 2Q21 Form 10-Q also stated that the Company “ha[d] developed
24 policies and procedures designed to assist in compliance with [various federal and state

25 consumer protection] laws and regulations[.]”

26        40.    Appended as exhibits to the 2Q21 Form 10-Q were signed certifications
27 pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”), wherein Defendants Levchin and

28 Lindford certified that the 2Q21 Form 10-Q “fully complies with the requirements of

                                               13
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 14 of 30




 1 Section 13(a) or 15(d) of the [Exchange Act] and that information contained in the

 2 [2Q21 10-Q] fairly presents, in all material respects, the financial condition and results

 3 of operations of the issuer.”

 4        41.    On May 10, 2021, Defendants caused the Company to issue a press release
 5 reporting the Company’s fiscal year 2021 third quarter results. That press release quoted

 6 Defendant Levchin, who represented that “Affirm’s strong third quarter results reflect

 7 continued progress toward building the most . . . transparent financial network for

 8 consumers and merchants[.]”

 9        42.    On May 17, 2021, Defendants caused the Company to file a quarterly report
10 on Form 10-Q with the SEC, reporting the Company’s financial and operating results for

11 the quarter ended March 31, 2021 (the “3Q21 Form 10-Q”). That filing contained

12 substantively the same statements as referenced in ¶¶ 37-39, regarding the Company’s

13 purportedly transparent, simple, and trustworthy payment solutions for consumers, and

14 policies and procedures designed to assist in compliance with various federal and state

15 consumer protection laws and regulations.

16        43.    Appended as exhibits to the 3Q21 Form 10-Q were substantively the same
17 SOX certifications as referenced in ¶ 40, signed by Defendants Levchin and Lindford.

18        44.    On September 9, 2021, Defendants caused the Company to issue a press
19 release reporting its fourth quarter and fiscal year 2021 results. That press release

20 quoted Defendant Levchin:

21        The secular shift toward flexible and transparent financial products
22
          continues to accelerate.

23        With our superior technology, Affirm is strongly positioned to build a more
24        valuable two sided network for consumers and merchants. We remain
          focused on extending our leadership position with our core products, while
25        capitalizing on our vast opportunities to empower more people with the
26        new ones we continue to launch.

27        45.    On September 17, 2021, Defendants caused the Company to file an annual
28 report on Form 10-K with the SEC, reporting the Company’s financial and operating

                                               14
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 15 of 30




 1 results for the quarter and fiscal year ended June 30, 2021 (the “2021 Form 10-K”).

 2 That filing contained substantively the same statements as referenced in ¶¶ 37-39,

 3 regarding the Company’s purportedly transparent, simple, and trustworthy payment

 4 solutions for consumers, and policies and procedures designed to assist in compliance

 5 with various federal and state consumer protection laws and regulations.

 6         46.   The 2021 Form 10-K also assured investors that the Company had
 7 “concluded that our disclosure controls and procedures were effective as of June 30,

 8 2021” and that “[t]here have not been any changes in the Company’s internal control

 9 over financial reporting . . . during the fourth quarter of fiscal 2021 that have materially
10 affected, or are reasonably likely to materially affect, the Company’s internal control

11 over financial reporting, except” for certain changes that the Company had made to

12 resolve a prior, purportedly remediated, material weakness in its internal controls.

13         47.   Appended as exhibits to the 2021 Form 10-K were substantively the same
14 SOX certifications as referenced in ¶ 40, signed by Defendants Levchin and Lindford.

15         48.   On November 10, 2021, Defendants caused the Company to issue a press
16 release reporting the Company’s fiscal year 2022 first quarter results. That press release

17 quoted Defendant Levchin: “[o]ur strong quarter once again demonstrates the continued

18 momentum across Affirm as more people embrace the transparency, flexibility and

19 value our solutions provide[.]”

20         49.   The same November 10, 2021 press release also highlighted an expanded
21 relationship with Amazon: “[c]onsumers will have the option to split the total cost of

22 eligible purchases into monthly payments at checkout with no late or hidden fees,

23 ever[,]” and that, “[a]s part of an amended agreement, Affirm will serve as Amazon’s

24 only third party, non credit card, [BNPL] option in the U.S.”

25

26         50.   On November 15, 2021, Defendants caused the Company to file a quarterly
27 report on Form 10-Q with the SEC, reporting the Company’s financial and operating

28 results for the quarter ended September 30, 2021 (the “1Q22 Form 10-Q”). That filing

                                               15
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 16 of 30




 1 contained substantively the same statements as referenced in ¶¶ 37-39, regarding the

 2 Company’s purportedly transparent, simple, and trustworthy payment solutions for

 3 consumers, and effective disclosure controls and procedures and internal control over

 4 financial reporting.

 5        51.    Appended as exhibits to the 1Q22 Form 10-Q were substantively the same
 6 SOX certifications as referenced in ¶ 40, signed by Defendants Levchin and Lindford.

 7        52.    The statements referenced in ¶¶ 37-51 were false and misleading because
 8 Defendants made false and/or misleading statements, as well as failed to disclose

 9 material adverse facts about the Company’s business, operations, and compliance
10 policies. Defendants made false and/or misleading statements and/or failed to disclose

11 that: (i) the Company’s BNPL service facilitated excessive consumer debt, regulatory

12 arbitrage, and data harvesting; (ii) the foregoing subjected the Company to a heightened

13 risk of regulatory scrutiny and enforcement action; (iii) the Company maintained

14 inadequate disclosure controls and procedures and internal control over financial

15 reporting; (iv) accordingly, the Company’s tweet for its second quarter 2022 financial

16 results contained selected metrics that made it appear that the Company had performed

17 better than it actually did; and (v) as a result, the Company’s public statements were

18 materially false and misleading at all relevant times.

19                         THE TRUTH BEGINS TO EMERGE
20        53.    On December 16, 2021, the CFPB announced that it had launched an
21 inquiry into the Company’s BNPL payment service, along with four other companies

22 offering BNPL. The CFPB stated:

23        Today the [CFPB] issued a series of orders to five companies offering “buy
24
          now, pay later” (BNPL) credit. The orders to collect information on the
          risks and benefits of these fast-growing loans went to [inter alia] Affirm . .
25        . . The CFPB is concerned about accumulating debt, regulatory arbitrage,
26        and data harvesting in a consumer credit market already quickly changing
          with technology.
27

28        “Buy now, pay later is the new version of the old layaway plan, but with

                                               16
                             Verified Shareholder Derivative Complaint
     Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 17 of 30




 1       modern, faster twists where the consumer gets the product immediately but
 2
         gets the debt immediately too,” said CFPB Director Rohit Chopra. “We
         have ordered [inter alia] Affirm . . . to submit information so that we can
 3       report to the public about industry practices and risks.” Buy now, pay later
 4       credit is a type of deferred payment option that generally allows the
         consumer to split a purchase into smaller installments, typically four or
 5       less, often with a down payment of 25 percent due at checkout. The
 6       application process is quick, involving relatively little information from the
         consumer, and the product often comes with no interest. Lenders have
 7       touted BNPL as a safer alternative to credit card debt, along with its ability
 8       to serve consumers with scant or subprime credit histories.

 9                                           ***
10
         The law requires that the CFPB monitor consumer financial markets and
11       enables the agency to require market players to submit information to
12       inform this monitoring. The CFPB expects to publish aggregated findings
         on insights learned from this inquiry. Today’s orders seek to illuminate the
13       range of these consumer credit products and their underlying business
14       practices. Specifically, the Bureau is concerned about:

15       •     Accumulating debt: Whereas the old-style layaway installment
16             loans were typically used for the occasional big purchase, people can
               quickly become regular users of BNPL for everyday discretionary
17             buying, especially if they download the easy-to-use apps or install
18             the web browser plugins. If a consumer has multiple purchases on
               multiple schedules with multiple companies, it may be hard to keep
19             track of when payments are scheduled. And when there is not
20             enough money in a consumer’s bank account, this can potentially
               result in charges by both the consumer’s bank and the BNPL
21             provider. Because of the ease of getting these loans, consumers can
22             end up spending more than anticipated.
23
         •     Regulatory arbitrage: Some BNPL companies may not be
24             adequately evaluating what consumer protection laws apply to their
               products. For example, some BNPL products do not provide certain
25
               disclosures, which could be required by some laws. And while the
26             BNPL application may look similar to a standard checkout with a
               credit card, protections that apply to credit cards may not apply to
27
               BNPL products. Many BNPL companies do not provide dispute
28             resolution protections available to users of other forms of credit, like

                                              17
                            Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 18 of 30




 1               credit cards. And finally, depending on what rules the lender is
 2
                 following, different late fees and policies apply.

 3        •      Data harvesting: BNPL lenders have access to the valuable
                 payment histories of their customers. Some have used this collected
 4
                 data to create closed loop shopping apps with partner merchants,
 5               pushing specific brands and products, often geared toward younger
                 audiences. As competitive forces pressure the merchant discount,
 6
                 lenders will need to find other sources of revenue to maintain
 7               growth and profitability. The Bureau would like to better understand
                 practices around data collection, behavioral targeting, data
 8
                 monetization and the risks they may create for consumers.
 9
          The BNPL product has seen growth internationally and many other
10        countries are also taking a close examination of its providers. As part of
11        today’s inquiry, the Bureau is working with its international partners in
          Australia, Sweden, Germany and the UK, specifically the Financial
12        Conduct Authority. The Bureau will also be coordinating with the rest of
13        the Federal Reserve System, as well as its state partners. [Emphasis in
          original].
14

15        54.    On this news, the Company’s stock price fell $11.74 per share, or 10.58%,
16 to close at $99.24 per share on December 16, 2021.            Despite this decline in the
17 Company’s stock price, the Company’s securities continued to trade at artificially

18 inflated prices as a result of the Company’s misrepresentations concerning the strength

19 and accuracy of its financial reporting controls.

20        55.    For instance, the Company planned to announce its financial results for the
21 second quarter of fiscal year 2022 after the markets closed on February 10, 2022. That

22 day, at approximately 1:15 p.m., however, the Company’s official Twitter account

23 issued a tweet containing some of the Company’s second quarter 2022 financial results

24 (the “2Q22 Tweet”). That tweet stated: “Another great quarter in the books [] as we

25 accelerated our growth. Leveraging our superior technology & putting people first =

26 increasing total # of transactions by 218%, active consumers by 150%, GMV by 115%,

27 & revenue by 77%! Tune in today at 2pm PT[.]”

28        56.    The 2Q22 Tweet, which made it appear that the Company had a highly

                                              18
                            Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 19 of 30




 1 successful quarter, caused the Company’s share price to jump roughly 10% in intra-day

 2 trading.

 3          57.   The statements referenced in ¶ 55 were materially false and misleading
 4 because Defendants made false and/or misleading statements, as well as failed to

 5 disclose material adverse facts about the Company’s business, operations, and

 6 compliance policies. Defendants made and/or misleading statements and/or failed to

 7 disclose that: (i) the Company maintained inadequate disclosure controls and procedures

 8 and internal control over financial reporting; (ii) accordingly, the 2Q22 Tweet for the

 9 Company’s second quarter 2022 financial results contained selected metrics that made it
10 appear that the Company had performed better than it actually did; and (iii) as a result,

11 the Company’s public statements were materially false and misleading at all relevant

12 times.

13                            THE TRUTH FULLY EMERGES
14          58.   On February 10, 2022, the Company deleted the 2Q22 Tweet and released
15 its full second quarter 2022 financial results ahead of schedule. The full financial results

16 were far less impressive than investors were led to believe from the 2Q22 Tweet. For

17 instance, the Company posted a quarterly loss of $0.57 per share—far worse than analyst

18 expectations of $0.37 per share.

19          59.   The Company’s 2Q22 Tweet was materially false and misleading because it
20 contained only selected metrics from the Company’s second quarter 2022 financial

21 results, which caused investors to believe that the Company had performed better than it

22 actually did. The 2Q22 Tweet omitted material details, including that the Company’s

23 quarterly loss was $0.57 per share, which was necessary in order to make the statement

24 made not misleading.

25          60.   It was severely reckless for Defendants to allow the misleading tweet to be
26 sent during the market day.

27          61.   On news of the deleted 2Q22 Tweet and subsequent release of the full
28 earnings, the Company’s share price plummeted $24.89 per share from an intra-day high

                                                19
                              Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 20 of 30




 1 of $83.57 per share to close at $58.68 per share on February 10, 2022, or approximately

 2 32%.

 3        62.   On January 12, 2022, the CFPB reported:
 4        Several weeks ago, we issued a market-monitoring inquiry into “buy now,
 5        pay later” (BNPL) products and business practices. Now we are inviting
          anyone interested in this market to submit comments -- including families,
 6        small businesses, and international regulators.
 7
          Use of BNPL has seen astronomical growth. Companies like Affirm,
 8        Afterpay, Klarna, PayPal, and Zip (formerly Quadpay) have become
 9        almost ubiquitous in the retail market since the pandemic. This past holiday
          season, usage spiked even higher, especially among young people. Some
10        analysts have suggested that BNPL has rerouted big holiday shopping
11        money away from the credit card companies towards these companies,
          putting an enormous amount of consumer debt on their books.
12

13        People encounter BNPL credit at the point of sale either online or at
          traditional retail stores. The loans are presented as a type of deferred
14        payment option that generally allows someone to split a purchase into
15        smaller installment payments, often with a down payment of 25 percent.
          The application process is quick, involving relatively little information
16        from the buyer, and the buyer usually pays no interest.
17
          For the buyer, it may seem like they are getting something for nothing. And
18        it can be appealing because not only is it convenient but instead of an
19        upfront cost of $100, they pay $25. But we are concerned there may be
          some systemic, underlying problems, particularly around accumulating
20        debt, regulatory arbitrage, and data harvesting in a consumer credit market
21        already quickly changing with technology. For some people, BNPL could
          look like a standard payment method when they are really taking on a new
22        form of debt.
23
          While BNPL has caught the eye of many investors, including big tech
24        companies and significant venture capitalists, it has also caught the eye of
25        fellow regulators around the world, including ones in Ireland, Germany,
          and the EU. Sweden already has a BNPL law that requires merchants to
26        first present consumer options that do not contribute to debt. Last year, Her
27        Majesty’s Treasury in the United Kingdom signaled plans for greater
          regulation. And in late October, the Reserve Bank of Australia said that
28

                                              20
                            Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 21 of 30




 1        BNPL firms will no longer be able to bar merchants from passing on
 2
          surcharges for their services.

 3        In the U.S., Congress has tasked us with ensuring that markets for
 4        consumer financial products and services are fair, transparent, and
          competitive. To that end, it has authorized us to require participants in the
 5        marketplace to provide information that helps us monitor risks to
 6        consumers and to publish aggregated findings that are in the public interest.
          The orders issued on December 16 required five different buy now, pay
 7        later lenders to provide information on the risks and benefits of their
 8        products.

 9              DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS
10        63.    Plaintiff brings this action derivatively in the right and for the benefit of the
11 Company to redress injuries suffered and to be suffered as a direct and proximate result

12 of the breaches of fiduciary duties and gross mismanagement by the Individual

13 Defendants.

14        64.    Plaintiff will adequately and fairly represent the interests of the Company
15 and its shareholders in enforcing and prosecuting its rights and has retained counsel

16 competent and experienced in derivative litigation.

17        65.    Plaintiff is a current owner of the Company stock and has continuously
18 been an owner of Company stock during all times relevant to the Individual Defendants’

19 wrongful course of conduct alleged herein. Plaintiff understands his obligation to hold

20 stock throughout the duration of this action and is prepared to do so.

21        66.    During the illegal and wrongful course of conduct at the Company and
22 through the present, the Board consisted of the Director Defendants. Because of the

23 facts set forth throughout this Complaint, demand on the Company Board to institute

24 this action is not necessary because such a demand would have been a futile and useless

25 act.

26        67.    The Company Board is currently comprised of Defendants Levchin, Liew,
27 Michalek, Ming, Quarles, Rabois, Reses and White. Thus, Plaintiff is required to show

28 that a majority of the Demand Defendants, i.e., four (4), cannot exercise independent

                                               21
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 22 of 30




 1 objective judgment about whether to bring this action or whether to vigorously prosecute

 2 this action.

 3         68.    The Individual Defendants face a substantial likelihood of liability in this
 4 action because they caused the Company to issue false and misleading statements

 5 concerning its financial results and future prospects.         Because of their advisory,
 6 executive, managerial, and directorial positions with the Company, the Individual

 7 Defendants had knowledge of material non-public information regarding the Company

 8 and was directly involved in the operations of the Company at the highest levels.

 9         69.    The Individual Defendants either knew or should have known of the false
10 and misleading statements that were issued on the Company’s behalf and took no steps

11 in a good faith effort to prevent or remedy that situation.

12         70.    The Individual Defendants (or at the very least a majority of them) cannot
13 exercise independent objective judgment about whether to bring this action or whether

14 to vigorously prosecute this action. For the reasons that follow, and for reasons detailed

15 elsewhere in this Complaint, Plaintiff has not made (and should be excused from

16 making) a pre-filing demand on the Board to initiate this action because making a

17 demand would be a futile and useless act.

18         71.    The Individual Defendants approved and/or permitted the wrongs alleged
19 herein to have occurred and participated in efforts to conceal or disguise those wrongs

20 from the Company’s stockholders or recklessly and/or with gross negligence disregarded

21 the wrongs complained of herein and are therefore not disinterested parties.

22         72.    The Individual Defendants authorized and/or permitted the false statements
23 to be disseminated directly to the public and made available and distributed to

24 shareholders, authorized and/or permitted the issuance of various false and misleading

25 statements, and are principal beneficiaries of the wrongdoing alleged herein, and thus,

26 could not fairly and fully prosecute such a suit even if they instituted it.

27         73.    Because of their participation in the gross dereliction of fiduciary duties,
28 and breaches of the duties of due care, good faith, and loyalty, the Individual Defendants

                                               22
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 23 of 30




 1 are unable to comply with their fiduciary duties and prosecute this action. They are in a

 2 position of irreconcilable conflict of interest in terms of the prosecution of this action

 3 and defending themselves in the securities fraud class action lawsuits brought under the

 4 Securities Exchange Act of 1934.

 5        74.    Additionally, each of the Individual Defendants received payments,
 6 benefits, stock options, and other emoluments by virtue of their membership on the

 7 Board and their control of the Company.

 8 Defendant Levchin

 9        75.    Defendant Levchin has served as the Company’s Chairman of the Board of
10 Directors (the “Board”) and Chief Executive Officer (“CEO”) at all relevant times. The

11 Company provides Defendant Levchin with his principal occupation for which he

12 receives handsome compensation.

13        76.    As CEO, Defendant Levchin was ultimately responsible for all of the false
14 and misleading statements and omissions that were made during the Relevant Period,

15 including the statements contained in the 2021 Form 10-K, which he personally signed.

16        77.    Further, Defendant Levchin is a defendant in the Securities Class Action.
17 For these reasons, Defendant Levchin breached his fiduciary duties, faces a substantial

18 likelihood of liability, is not independent or disinterested, and thus demand upon him is

19 futile and, therefore, excused.

20 Defendant Michalek

21        78.    Defendant Michalek has served as a member of the Company’s Board since
22 May 2021. Defendant Michalek has served as the Company’s President, Technology,

23 Risk and Operations since May 2021 and previously served as the Company’s President,

24 Technology from 2018 to May 2021. Defendant Michalek served as the Company’s

25 Chief Technology Officer from 2015 to 2018. The Company provides Defendant

26 Michalek with his principal occupation for which he receives handsome compensation.

27        79.    For these reasons, Defendant Michalek is not independent or disinterested,
28 and thus demand upon him is futile and, therefore, excused.

                                               23
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 24 of 30




 1 Defendants Ming, Quarles, Rabois and Reses

 2        80.    Defendants Ming, Quarles, Rabois and Reses served as members of the
 3 Audit Committee during the Relevant Period, with Defendant Quarles serving as chair.

 4 Pursuant to the Company’s Audit Committee Charter, these Defendants are responsible

 5 for overseeing the Company’s quality and integrity of the Company’s financial

 6 statements, the Company’s compliance with legal and regulatory requirements, the

 7 Company’s financial reporting process, and the Company’s internal controls over

 8 financial reporting. These Defendants failed to ensure the quality and integrity of the

 9 Company’s financial statements, as they are charged to do under the Audit Committee
10 Charter, allowing the Company to make and file false and misleading financial

11 statements with the SEC and to fail to maintain internal controls. The Defendants

12 breached their fiduciary duties, are not disinterested, and demand is excused as to them.

13 Defendant Levchin and Liew -- Investors’ Rights Agreement

14        81.    Defendant Levchin, entities affiliated with Lightspeed Venture Partners
15 (Defendant Liew is partner at Lightspeed Venture Partners), entities affiliated with

16 Spark Capital, entities affiliated with Thrive Capital, entities affiliated with Jasmine

17 Ventures other holders of the Company’s redeemable convertible preferred stock, and

18 Shopify, are party to an amended and restated investors’ rights agreement, dated as of

19 September 11, 2020 (the “Investors’ Rights Agreement”), pursuant to which the

20 Company granted such holders certain registration rights with respect to the registrable

21 securities held by them.

22        82.    Both Levchin and Liew have business relationships with each other that
23 preclude them from acting independently and in the best interests of the Company and

24 the shareholders.

25                               FIRST CAUSE OF ACTION
26         (Against The Individual Defendants for Breach of Fiduciary Duties)
27        83.    Plaintiff incorporates by reference and re-alleges each and every allegation
28 contained above, as though fully set forth herein.

                                                24
                              Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 25 of 30




 1        84.    The Individual Defendants owe the Company fiduciary obligations. By
 2 reason of their fiduciary relationships, the Individual Defendants owed and owe the

 3 Company the highest obligation of good faith, fair dealing, loyalty, and due care.

 4        85.    The Individual Defendants violated and breached their fiduciary duties of
 5 care, loyalty, reasonable inquiry, and good faith.

 6        86.    The Individual Defendants engaged in a sustained and systematic failure to
 7 properly exercise their fiduciary duties. Among other things, the Individual Defendants

 8 breached their fiduciary duties of loyalty and good faith by allowing the Company to

 9 improperly misrepresent the Company’s publicly reported financials. These actions
10 could not have been a good faith exercise of prudent business judgment to protect and

11 promote the Company’s corporate interests.

12        87.    As a direct and proximate result of the Individual Defendants’ failure to
13 perform their fiduciary obligations, the Company has sustained significant damages. As

14 a result of the misconduct alleged herein, the Individual Defendants are liable to the

15 Company.

16        88.    As a direct and proximate result of the Individual Defendants’ breach of
17 their fiduciary duties, the Company has suffered damage, not only monetarily, but also

18 to its corporate image and goodwill. Such damage includes, among other things, costs

19 associated with defending securities lawsuits, severe damage to the share price of the

20 Company, resulting in an increased cost of capital, the waste of corporate assets, and

21 reputational harm.

22                            SECOND CAUSE OF ACTION
23           (Against The Individual Defendants for Gross Mismanagement)
24        89.    Plaintiff incorporates by reference and re-alleges each allegation contained
25 above, as though fully set forth herein.

26        90.    By their actions alleged herein, the Individual Defendants, either directly or
27 through aiding and abetting, abandoned and abdicated their responsibilities and fiduciary

28 duties with regard to prudently managing the assets and business of the Company in a

                                               25
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 26 of 30




 1 manner consistent with the operations of a publicly held corporation.

 2        91.     As a direct and proximate result of the Individual Defendants’ gross
 3 mismanagement and breaches of duty alleged herein, the Company has sustained

 4 significant damages in excess of millions of dollars.

 5        92.     Because of the misconduct and breaches of duty alleged herein, the
 6 Individual Defendants are liable to the Company.

 7                              THIRD CAUSE OF ACTION
 8               (Against The Individual Defendants for Abuse of Control)
 9        93.     Plaintiff incorporates by reference and re-alleges each and every allegation
10 set forth above, as though fully set forth herein.

11        94.     The Individual Defendants’ misconduct alleged herein constituted an abuse
12 of their ability to control and influence the Company, for which they are legally

13 responsible.

14        95.     As a direct and proximate result of the Individual Defendants’ abuse of
15 control, the Company has sustained significant damages. As a direct and proximate

16 result of the Individual Defendants’ breaches of their fiduciary obligations of candor,

17 good faith, and loyalty, the Company has sustained and continues to sustain significant

18 damages. As a result of the misconduct alleged herein, the Individual Defendants are

19 liable to the Company.

20        96.     The acts and omissions of the Individual Defendants complained of in this
21 Count have been undertaken willfully, knowingly, and maliciously, and/or with reckless

22 disregard for their respective civil obligations, and accordingly the Company is entitled

23 to recover punitive damages with respect to this Count.

24                             FOURTH CAUSE OF ACTION
25              (Against The Individual Defendants For Unjust Enrichment)
26        97.     Plaintiff incorporates by reference and re-alleges each and every allegation
27 set forth above, as though fully set forth herein.

28        98.     During the Relevant Period, the Individual Defendants received bonuses,
                                               26
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 27 of 30




 1 stock options, and/or similar such compensation from the Company that were tied to the

 2 financial performance of the Company. The Individual Defendants were unjustly

 3 enriched thereby.

 4        99.    To remedy the Individual Defendants’ unjust enrichment, this Court should
 5 order them to disgorge their unjustly obtained bonuses and compensation.

 6        100. The acts and omissions of the Individual Defendants complained of in this
 7 Count have been undertaken willfully, knowingly, and maliciously, and/or with reckless

 8 disregard for their respective civil obligations, and accordingly the Company is entitled

 9 to recover punitive damages with respect to this Count.
10                              FIFTH CAUSE OF ACTION
11              (Against Defendants Levchin and Lindford for Contribution
12                  Under Sections 10(b) and 21D of the Exchange Act)

13        101. Plaintiff incorporates by reference and realleges each and every allegation
14 set forth above, as though fully set forth herein.

15        102. Affirm and Defendants Levchin and Lindford are named as defendants in
16 the Securities Class Action, which asserts claims under the federal securities laws for

17 violations of Sections 10(b) and 20(a) of the Exchange Act, and SEC Rule 10b-5

18 promulgated thereunder. If and when the Company is found liable in the Securities

19 Class Action for these violations of the federal securities laws, the Company’s liability

20 will be in whole or in part due to Defendant Levchin and Lindford’s willful and/or

21 reckless violations of their obligations as officers of Affirm

22        103. Defendants Levchin and Lindford, because of their positions of control and
23 authority as CEO and CFO, respectively, were able to and did, directly and/or indirectly,

24 exercise control over the business and corporate affairs of the Company, including the

25 wrongful acts complained of herein and in the Securities Class Action.

26        104. Accordingly, Defendants Levchin and Lindford are liable under 15 U.S.C. §
27 78j(b), which creates a private right of action for contribution, and Section 21D of the

28 Exchange Act, 15 U.S.C. § 78u-4(f), which governs the application of a private right of

                                               27
                             Verified Shareholder Derivative Complaint
      Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 28 of 30




 1 action for contribution arising out of violations of the Exchange Act.

 2        105. As such, the Company is entitled to receive all appropriate contribution or
 3 indemnification from Defendants Levchin and Lindford.

 4                                 REQUEST FOR RELIEF
 5        WHEREFORE, Plaintiff demands judgment as follows:
 6              A.     Determining that this action is a proper derivative action
 7        maintainable under law, and that demand is excused;
 8              B.     Awarding, against all the Individual Defendants and in favor of the
 9        Company, the damages sustained by the Company as a result of the Individual
10        Defendants’ breaches of their fiduciary duties;
11              C.     Directing the Company to take all necessary actions to reform and
12        improve its corporate governance and internal procedures, to comply with the
13        Company’s existing governance obligations and all applicable laws and to protect
14        the Company and its investors from a recurrence of the damaging events
15        described herein;
16              D.     Awarding to Plaintiff the costs and disbursements of the action,
17        including reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and
18        expenses; and
19              E.     Granting such other and further relief as the Court deems just and
20        proper.
21                                      JURY DEMAND
22        Plaintiff demands a trial by jury on all issues so triable.
23

24

25

26

27

28

                                                28
                              Verified Shareholder Derivative Complaint
     Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 29 of 30




 1 Dated: April 25, 2022

 2                                 MAGNANIMO DEAN LAW, APC
 3
                                   By: _____________________
 4                                 Lauren A. Dean, Esq. (SBN 174722)
 5                                 5850 Canoga Avenue, Suite 400
                                   Woodland Hills, CA 91367
 6                                 Tel: (818) 305-3450
 7                                 Email: lauren@magdeanlaw.com

 8                                 Thomas J. McKenna
                                   Gregory M. Egleston
 9                                 GAINEY McKENNA & EGESTON
10                                 501 Fifth Avenue, 19th Floor
                                   New York, NY 10017
11                                 Phone: (212) 983-1300
12                                 Fax: (212) 983-0383
                                   Email: tjmckenna@gme-law.com
13                                 Email: gegleston@gme-aw.com
14
                                   Counsel for Plaintiff
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             29
                           Verified Shareholder Derivative Complaint
Case 3:22-cv-02507-VC Document 1 Filed 04/25/22 Page 30 of 30
